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                                                                        RECF 1'   ii   l;t"f'i('

                    IN THE UNITED STATES DISTRICT             couilfRI"- C~IARLEs~t'o'k SC
                    FOR THE DISTRICT OF SOUTH CAROLl}19l9 HAR                20 PH ~: 25
                           CHARLESTON DIVISION

                                           )
IN RE: AQUEOUS FILM-FORMING                )    MDL No. 2: 18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                   )
LITIGATION                                 )    CASE MANAGEMENT ORDER NO. 2
                                           )
                                           )    This Order Relates to All Actions.
                                           )
                                           )
                                           )


                           Organization of Plaintiffs' Counsel

     1. Plaintiffs' counsel have met and discussed their organizational structure and

        functions. At the initial case management conference held on February 25, 2019,

        Plaintiffs' counsel agreed to the following structure without objection. The Court has

        reviewed the application materials of counsel seeking to serve in leadership positions

        and makes the following appointments.

     2. The Court appoints the following attorneys as Plaintiffs' Co-Lead Counsel:

        Michael A. London
        Douglas & London, P.C.
        59 Maiden Lane, 6th Fl.
        New York, NY 10038

        Paul J. Napoli
        Napoli Shkolnik PLLC
        360 Lexington Ave., 11th Fl.
        New York, NY 10017

        Scott Summy
        Baron & Budd, P .C.
        3102 Oak Lawn Ave., #1100
        Dallas, TX 75219
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 3. The Court appoints as Plaintiffs' Liaison Counsel:

    Fred Thompson, III
    Motley Rice, LLC
    28 Bridgeside Blvd.
    Mount Pleasant, SC 29464

 4. The Court appoints the following attorneys to the Plaintiffs' Executive Committee

    ("PEC"):

    Charles E. Schaffer
    Levin Sedran & Berman
    510 Walnut St., 5th Fl.
    Philadelphia, PA 19106

    Larry R. Cohan
    Anapol Weiss
    One Logan Square 130 N. 18th St., Suite 1600
    Philadelphia, PA 19103

    Richard S. Lewis
    Hausefeld
    1700 K St. N. W., Suite 650
    Washington, DC 20006

    Kevin Madonna
    Kennedy & Madonna, LLP
    48 Dewitt Mills Rd.
    Hurley, NY 12443

    David McDivitt
    McDivitt Law Firm, P.C.
    1401 17th St., Suite 500
    Denver, CO 80202

    Frank L. Gallucci, III
    Plevin & Gallucci
    55 Public Square, Suite 2222
    Cleveland, OH 44113

    Erin Dickerson
    Crueger Dickinson LLC
    4532 N. Oakland Ave.
    Whitefish Bay, WI 53211



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    William J. Jackson
    Kelley Drye & Warren LLP
    515 Post Oak Blvd., Suite 900
    Houston, TX 77027

    Richard Head
    SL Environmental Law Group
    201 Filbert St., Suite 401
    San Francisco, CA 94105

    Matt Edling
    Sher Edling, LLP
    100 Montgomery St., Suite 1410
    San Francisco, CA 94104

    Wesley Bowden
    Levin, Papantonio, Thomas, Mitchell, Rafferty, Proctor P.A.
    316 South Baylen St.
    Pensacola, FL 32502

    Nancy Christensen
    Weitz & Luxenberg, P.C.
    700 Broadway
    New York, NY 10003

    Kevin Hannon
    The Hannon Law Firm, LLC
    1641 Downing St.
    Denver, CO 80218

    T. Roe Frazer, II
    Frazer PLC
    1 Burton Hills Blvd., Suite 215
    Nashville, TN 37215

    James Ferraro
    The Ferraro Law Firm
    600 Brickell Ave., Suite 3800
    Miami, FL 33131

    Christiaan A. Marcum
    Richardson, Patrick, Westbook & Brickman
    1037 Chuck Dawley Blvd., Building A
    PO Box 1007
    Mount Pleasant, SC 29465


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 5. The Court appoints the following attorney to the Advisory Counsel to the PEC:

    Robert A. Bilott
    Taft Stettinius & Hollister LLP
    425 Walnut St., Suite 1800
    Cincinnati, OH 45202

 6. All appointments to leadership, liaison and committee positions are for a period of

    one year. Each appointee must apply for continued service thereafter.

 7. These designations are of a personal nature. Accordingly, the Court looks to these

    counsel to undertake personal responsibility to perform the designated functions and,

    should they become unable to do so, the Court reserves the discretion to replace

    counsel on their request or on the Court's own motion.

 8. Plaintiffs' Liaison Counsel shall have the following responsibilities:

        a. Act as the primary contact between the Court and plaintiffs' counsel.

        b. Receive, on behalf of the attorneys for all plaintiffs, notice of all Court orders,

            notices of pretrial conferences, and other notices applicable to all plaintiffs.

        c. Prepare and transmit copies of such notices to each of the plaintiffs' attorneys

            of record when service is not already effected upon them electronically under

            the Local Rules or this Court's other pretrial orders.

        d. Establish and maintain a depository for orders, pleadings, hearing transcripts

            and all documents served upon plaintiffs' counsel, which Plaintiffs' Liaison

            Counsel shall make available to counsel for all plaintiffs upon reasonable

            request.




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        e. Maintain records of receipts and disbursements advanced by members of the

             PEC and received by the PEC, and report in writing to the PEC concerning

             disbursements and receipts.

        f.   Designate counsel to schedule depositions, set agendas and otherwise interact

             with defendants' counsel.

        g. Act as the treasurer for any common benefit assessments and expenses.

        h. Perform such other functions necessary to effectuate these responsibilities or

             as may be expressly authorized by further orders from the Court.

 9. The Court may amend or expand the PEC and Advisory Counsel upon request from

    the PEC or Advisory Counsel or on the Court's own motion, if and as circumstances

    warrant.

 10. The PEC is chaired by Plaintiffs' Co-Lead Counsel. Co-Lead Counsel are vested by

    the Court with the authority and duty to coordinate and oversee the responsibilities of

    the PEC and Advisory Counsel set forth below; to schedule meetings and keep

    minutes or transcripts of these meetings; to appear at periodic court noticed status

    conferences and hearings; to sign and file pleadings relating to all actions; to bind the

    PEC in scheduling depositions, setting agendas, and entering into stipulations; and in

    all other necessary interactions with defense counsel. Co-Lead Counsel shall perform

    other necessary administrative and logistical functions of the PEC and carry out any

    other duty as the Court may order. Co-Lead Counsel may delegate administrative

    functions within the members of the PEC.

 11. The PEC is given the responsibility to create such committees and subcommittees as

    are necessary to efficiently carry out its responsibilities, to designate members



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    thereof, and to delegate common benefit work responsibilities to selected counsel

    (including non-members of the PEC), as may be required for the common benefit of

    plaintiffs.

 12. All attorneys carrying out such common benefit work who may look to any common

    fund or agreement for reimbursement or compensation shall maintain and submit time

    and expense records in accordance with guidelines to be set by the Court.                The

    compensation for such common benefit work will be specified by the Court in a

    subsequent Order. All such reimbursement and compensation shall be subject to the

    Court's approval.

 13. The PEC shall have the following responsibilities:

        a. Discovery

                   1.   Initiate, coordinate and conduct all pretrial discovery on behalf of

                        plaintiffs in the MDL proceedings and, to the extent possible,

                        coordinate with any AFFF product liability state court actions to avoid

                        duplicative depositions or other inefficient discovery.

                  11.   Develop and propose to the Court schedules for the commencement,

                        execution and completion of all discovery on behalf of all plaintiffs.

                  iii. Cause to be issued in the name of all plaintiffs the necessary discovery

                        requests, motions and subpoenas pertaining to any witnesses and

                        documents required to prepare properly for the pretrial of relevant

                        issues found in the pleadings of this litigation. Similarly, requests,

                        notices and subpoenas may be caused to be issued by the PEC upon

                        written request by an individual attorney in order to assist him/her in



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                   the preparation of the pretrial stages of his/her client's particular

                   claims.

             1v. Conduct all discovery in a coordinated and consolidated manner on

                   behalf, and for the benefit, of all plaintiffs.

       b. Hearings and Meetings

              1.   Call meetings of counsel for plaintiffs for any appropriate purpose,

                   including coordinating responses to questions of other parties or the

                   Court.

             11.   Initiate proposals, suggestions, schedules, joint briefs, and any other

                   appropriate matter( s) pertaining to pretrial proceedings.

            111.   Examine witnesses and introduce evidence at hearings on behalf of

                   plaintiffs.

             1v. Act as spokesperson for all plaintiffs at pretrial proceedings and in

                   response to any inquiries by the Court, subject of course to the right of

                   any plaintiffs counsel to present non-repetitive individual or different

                   positions.

       c. Miscellaneous

              1.   Submit and argue any verbal or written motions presented to the Court

                   or Magistrate Judge on behalf of the PEC, as well as oppose, when

                   necessary, any motions submitted by the defendants or other parties

                   that involve matters within the sphere of the PEC's responsibilities.

             ii. Negotiate and enter into stipulations with defendants regarding this

                   litigation. All stipulations entered into by the PEC, except for strictly



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                administrative details such as scheduling, must be submitted for the

                Court's approval and shall not be binding until the Court has ratified

                the stipulation.     Any attorney not in agreement with a non-

                administrative stipulation shall file with the Court a written objection

                thereto within five (5) days after he/she knows or should have

                reasonably become aware of the stipulation. Failure to object within

                the time allowed shall be deemed a waiver and the stipulation shall

                automatically be binding on that party.

            111. Explore, develop and pursue all settlement options pertaining to any

                claim, or portion thereof, in any case filed in this litigation.

            1v. Maintain adequate files of all pretrial matters, including establishing

                and maintaining a document or exhibit depository in either real or

                virtual format, and having those documents available, under

                reasonable terms and conditions, for examination by all plaintiffs or

                their attorneys. The document depository shall include all documents

                produced to plaintiffs during discovery, as well as deposition

                transcripts of all depositions taken by plaintiffs in this litigation.

             v. Perform any task necessary and proper for the PEC to accomplish its

                responsibilities, as defined by the Court's orders, including organizing

                subcommittees comprised of plaintiffs' attorneys not on the PEC and

                assigning them tasks consistent with the duties of the PEC.

            v1. Provide periodic reports, on no less than a quarterly basis, to non-PEC

                plaintiffs' counsel regarding the status of the litigation.



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               vu. Perform such other functions as may be expressly authorized by

                    further orders from the Court.

  14. No pleadings or other papers shall be filed, or discovery conducted concerning

     liability, on behalf of all plaintiffs except as prepared on behalf of the PEC and signed

     by Co-Lead Counsel.

  15. Plaintiffs' Co-Lead Counsel, with Plaintiffs' Liaison Counsel as the treasurer for said

     accounts(s), shall deposit and invest all assessments for a litigation fund in an interest

     bearing insured money market bank account or United States Treasury Bills, and pay

     reasonable litigation expenses subject to regular reviews and approval by the Court.

     The initial and subsequent assessments shall be determined by the PEC. All such

     assessments shall be subject to final accounting at an appropriate time.

  16. An attorney's designation as Co-Lead Counsel, Liaison Counsel, or member of the

     PEC shall be contingent on that attorney's continuing commitment to the diligent

     prosecution of this litigation and that attorney promptly paying any assessment for the

     litigation fund. Further, if any designee fails to meet his/her financial obligations to

     the PEC for funding this litigation for more than sixty (60) days, the designee shall be

     removed from his/her respective appointed position without further order of the

     Court.

  17. The Court recognizes that independent investigations may have been undertaken by

     various plaintiffs' counsel and defendants' counsel. Certain investigative materials

     gathered by individual counsel in the course of his/her independent case

     investigations may constitute attorney work product. All documents and investigative

     materials obtained prior to the date of this order will be shared only with counsel



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     having the same interests and subject to an agreement regarding the sharing of costs

     and expenses of obtaining and producing said investigative material and attorney

     work product. The PEC shall make a good faith effort to resolve the cost-sharing

     issues relevant to independent investigative materials. Any challenges to claims of

     work product as to investigative materials will be determined by the Court.

                      Organization of Defendants' Counsel

  18. Defendants' counsel have met and discussed their organizational structure and

     functions. At the initial case management conference held on February 25, 2019,

     Defendants' counsel agreed to the following structure without objection. The Court

     has reviewed the application materials of counsel seeking to serve in leadership

     positions and makes the following appointments.

  19. The Court appoints the following attorneys as Defendants' Co-Lead Counsel:

     Joseph G. Petrosinelli
     Williams & Connolly LLP
     725 Twelfth St., N.W.
     Washington, DC 20005

     Michael A. Olsen
     Mayer Brown LLP
     71 S. Wacker Dr.
     Chicago, IL 60606

  20. The Court appoints the following attorneys as Defendants' Co-Liaison Counsel:

     David E. Dukes
     Nelson Mullins Riley & Scarborough LLP
     1320 Main St., 17th Fl.
     Columbia, SC 29201

     Brian C. Duffy
     Duffy & Young LLC
     96 Broad St.
     Charleston, SC 29401



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  21. The Court appoints the following attorneys to the Defendants' Coordination

     Committee ("DCC"):

     Joseph G. Petrosinelli
     Williams & Connolly LLP
     725 Twelfth St., N.W.
     Washington, DC 20005

     Michael A. Olsen
     Mayer Brown LLP
     71 S. Wacker Dr.
     Chicago, IL 60606

     David E. Dukes
     Nelson Mullins Riley & Scarborough LLP
     1320 Main St., 17th Fl.
     Columbia, SC 29201

     Brian C. Duffy
     Duffy & Young LLC
     96 Broad St.
     Charleston, SC 29401

     Mark A. Chertok
     Sive Paget & Riesel, P.C.
     560 Lexington Ave., 15th Fl.
     New York, NY 10022

     Sarah Williams
     United States Department of Justice
     Civil Division, Environmental Torts Branch
     175 N St., N.E.
     Washington, DC 20002

  22. All appointments to leadership, liaison and committee positions are for a period of

     one year. Each appointee must apply for continued service thereafter.

  23. These designations are of a personal nature. Accordingly, the Court looks to these

     counsel to undertake personal responsibility to perform the designated functions and,

     should they become unable to do so, the Court reserves the discretion to replace

     counsel on their request or on the Court's own motion.


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  24. The DCC is chaired by Defendants' Co-Lead Counsel. Co-Lead Counsel are vested

     by the Court with the authority and duty to coordinate and oversee the responsibilities

     of the DCC set forth below; to schedule meetings and keep minutes or transcripts of

     these meetings; to appear at periodic court noticed status conferences and hearings; to

     sign and file pleadings relating to all actions; to bind the DCC in scheduling

     depositions, setting agendas, entering into stipulations, and in all other necessary

     interactions with plaintiffs' counsel. Co-Lead Counsel shall perform other necessary

     administrative and logistic functions of the DCC and carry out any other duty as the

     Court may order. Co-Lead Counsel may delegate administrative functions within the

     members of the DCC.

  25. Defendants' Co-Liaison Counsel shall have the following responsibilities:

         a. Mr. Duffy is to act as the point of contact with the Court and plaintiffs'

             counsel.

         b. Receive, on behalf of the attorneys for all defendants, notice of all Court

             orders, notices of pretrial conferences, and other notices applicable to all

             defendants.

         c. Prepare and transmit copies of such notices to each of the defendants'

             attorneys of record when service is not already effected upon them

             electronically under the Local Rules or this Court's other pretrial orders.

         d. Establish and maintain a depository for orders, pleadings, hearing transcripts

             and all documents served upon defendants' counsel.




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         e. Maintain records of receipts and disbursements advanced by members of the

              DCC and received by the DCC, and report in writing to DCC concerning

              disbursements and receipts.

         f.   Designate counsel to schedule depositions, set agendas and otherwise interact

              with plaintiffs' counsel.

  26. The Court may amend or expand the DCC upon request from the DCC or on the

     Court's own motion, if and as circumstances warrant.              The DCC is given the

     responsibility to create such committees and subcommittees as are necessary to

     efficiently carry out its responsibilities, to designate members thereof, and to delegate

     common benefit work responsibilities to selected counsel (including non-members of

     the DCC), as may be required for the common benefit of defendants.

  27. The DCC shall have the following responsibilities:

         g. Discovery

                   1.   Initiate, coordinate and conduct all pretrial discovery on behalf of

                        defendants in the MDL proceedings and, to the extent possible,

                        coordinate with any AFFF product liability state court actions to avoid

                        duplicative depositions or other inefficient discovery.

                  11.   Develop and propose to the Court schedules for the commencement,

                        execution and completion of all discovery on behalf of all defendants.

                 111.   Cause to be issued in the name of all defendants the necessary

                        discovery requests, motions and subpoenas pertaining to any witnesses

                        and documents required to prepare properly for the pretrial of relevant

                        issues found in the pleadings of this litigation. Similarly, requests,



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                   notices and subpoenas may be caused to be issued by the DCC upon

                   written request by an individual attorney in order to assist him/her in

                   the preparation of the pretrial stages of his/her client's particular

                   defenses or counterclaims.

               1v. Conduct all discovery in a coordinated and consolidated manner on

                   behalf, and for the benefit, of all defendants.

        h. Hearings and Meetings

                1. Call meetings of counsel for defendants for any appropriate purpose,

                   including coordinating responses to questions of other parties or the

                   Court.

                11. Initiate proposals, suggestions, schedules, joint briefs, and any other

                   appropriate matter(s) pertaining to pretrial proceedings.

               iii. Examine witnesses and introduce evidence at hearings on behalf of

                   defendants.

               1v. Act as spokesperson for all defendants at pretrial proceedings and in

                   response to any inquiries by the Court, subject of course to the right of

                   any defendant's counsel to present non-repetitive individual or

                   different positions.

        1.   Miscellaneous

                i. Submit and argue any verbal or written motions presented to the Court

                   or Magistrate Judge on behalf of the DCC, as well as oppose when

                   necessary any motions submitted by the plaintiffs or other parties that

                   involve matters within the sphere of the DCC's responsibilities.



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              1.    Negotiate and enter into stipulations with plaintiffs regarding this

                    litigation. All stipulations entered into by the DCC, except for strictly

                    administrative details such as scheduling, must be submitted for the

                    Court's approval and shall not be binding until the Court has ratified

                    the stipulation.     Any attorney not in agreement with a non-

                    administrative stipulation shall file with the Court a written objection

                    thereto within five (5) days after he/she knows or should have

                    reasonably become aware of the stipulation. Failure to object within

                    the time allowed shall be deemed a waiver and the stipulation shall

                    automatically be binding on that party.

              11.   Explore, develop and pursue all settlement options pertaining to any

                    claim or counterclaim, or portion thereof, in any case filed in this

                    litigation.

             111.   Maintain adequate files of all pretrial matters, including establishing

                    and maintaining a document or exhibit depository in either real or

                    virtual format, and having those documents available, under

                    reasonable terms and conditions, for examination by all defendants or

                    their attorneys. The document depository shall include all documents

                    produced to defendants during discovery, as well as deposition

                    transcripts of all depositions taken by defendants in this litigation.

             1v. Perform any task necessary and proper for the DCC to accomplish its

                    responsibilities, as defined by the Court's orders, including organizing




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                         subcommittees comprised of defendants' attorneys not on the DCC

                         and assigning them tasks consistent with the duties of the DCC.

                     v. Provide periodic reports, on no less than a quarterly basis, to non-DCC

                         defendants' counsel regarding the status of the litigation.

                     v1. Perform such other functions as may be expressly authorized by

                         further orders from the Court.

       28. No pleadings or other papers shall be filed, or discovery conducted concerning

          liability, on behalf of all defendants except as prepared on behalf of the DCC and

          signed by Co-Lead Counsel.

                Additional Plaintiffs' and Defendants' Committee Members

       29. The Court appoints the above named attorneys to the PEC and DCC, but remains

          concerned regarding the lack of gender and racial diversity among the committee

          members. The Court is committed to developing the future generation of diverse

          MDL leadership by providing competent candidates with opportunities for

          substantive participation now.    Leadership that reflects the diversity of an MDL,

          consolidating many claims from diverse plaintiffs across the country, is integral to

          plaintiffs' and defendants' effective coordination of pretrial proceedings.

       30. The Court directs Co-Lead Counsel for Plaintiffs and Defendants to each submit

          additional proposed diverse committee members in the joint status report referenced

          in Paragraph 38, in advance of the April 5, 2019 status conference. 1




1
  These names may be submitted directly to Chambers as an addendum to the joint status report
rather than filed on ECF.
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                          Rights and Privileges Preserved

  31. This organization of plaintiffs' and defendants' counsel for pretrial proceedings is not

     intended to constitute a waiver of any party's rights under Lexecon, Inc. v. Milberg

     Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998).

  32. The Court recognizes that cooperation by and among plaintiffs' counsel and by and

     among defendants' counsel is essential for the orderly and expeditious resolution of

     this litigation. The communication of information among and between plaintiffs'

     counsel and among and between defendants' counsel shall not be deemed a waiver of

     the attorney-client privilege and/or the attorney work product doctrine, if the privilege

     or doctrine is otherwise applicable, and all of said persons shall maintain the

     confidentiality of said communications. This provision does not limit the rights of

     any party or counsel to assert the attorney-client privilege or attorney work product

     doctrine. Nor does this provision expand or create a protection or privilege that the

     party does not otherwise already enjoy.

                       Attorneys' Time and Expense Records

  33. All counsel (plaintiffs' and defendants') shall keep contemporaneous records of their

     time spent and expenses incurred in connection with this litigation.          Failure to

     maintain such records will be grounds for denying Court-awarded attorneys' fees.

  34. The Court has reviewed Judge Fallon's Pretrial Order #6 in the Vioxx MDL, which

     sets guidelines for Plaintiffs' counsel's time and expense submissions. The Court is

     considering entering an order similar to Judge Fallon's Pretrial Order #6 and having

     Plaintiffs' Liaison Counsel retain a certified public accountant subject to approval by

     the Court. Plaintiffs' Liaison Counsel and Plaintiffs' Co-Lead Counsel are directed to



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              review Judge Fallon's Pretrial Order #6 2 and be prepared to discuss such a process at

              the April 5, 2019 status conference.

                                     Monthly Status Conferences

          35. The Court will hold monthly status conferences.

          36. Co-Lead Counsel, Liaison Counsel, and any counsel intending to argue a motion or

              actively participate in a status conference must appear in person, unless specifically

              authorized by the Court to participate by telephone.

          37. Any counsel who wishes to attend, but not actively participate in, a status conference

              may appear by telephone. Plaintiffs' Co-Lead Counsel and/or Liaison Counsel shall

              consult with opposing counsel and the Court's Courtroom Deputy and develop call-in

              procedure for counsel wishing to appear by telephone.

          38. Co-Lead Counsel for Plaintiffs and Defendants must confer before each status

              conference and submit a joint status report five (5) business days before the

              conference.     This joint status report should be filed via ECF and include (i) a

              summary of the discovery conducted since the last status conference, (ii) updates on

              related federal cases not yet transferred to this District, (iii) updates on any related

              state cases, (iv) any issues that the parties wish to raise to the Court, and (v) if the

              parties have differing views on issues raised to the Court, their respective positions on

              these issues.

          39. Counsel should be prepared to argue any pending motions at a monthly status

              conference.




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    Available at http://www.laed. uscourts. gov/sites/default/files/vioxx/orders/vioxxpto6withA. pdf.
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                                        Motions Practice

       40. All motions that are currently pending in these consolidated actions or pending in an

           action at the time of transfer to this District, except motions to remand, are DENIED

           WITHOUT PREJUDICE and with leave to refile in accordance with the procedures

           of this Order and Case Management Order No. 1 (Dkt. No. 3).

       41. If a motion to remand is pending in any of these consolidated actions or pending in an

           action at the time of transfer to this District, counsel shall file a "Notice of Pending

           Motion(s) to Remand." This Notice must include the case number(s) of the action(s)

           in which the motion(s) to remand is/are pending and the docket entry number for the

           motion( s) to remand. If an attorney has more than one pending motion to remand,

          he/she may file a single Notice that shall specify this information. The Notice should

           be filed via ECF on the MDL docket only3 using the "Letter" event.

       42. Any motion that is not signed by Co-Lead Counsel must (i) contain an affirmation by

           movant's counsel that, prior to filing them motion, he/she conferred with Co-Lead

           Counsel about the filing of the motion, and (ii) state whether Co-Lead Counsel

           consents to the filing of the motion. All counsel must comply with Local Civil Rule

           7.02 D.S.C. when filing motions.

       43. Where counsel for more than one party plan to file substantially similar motions, they

           shall join in the submission of such motions and shall file only one motion on behalf

           of all so joined.

                               Status Conference on April 5, 2019

       44. The next status conference in this matter will be held on April 5, 2019 at 10 A.M.


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  See Case Management Order No. 1 (Dkt. No. 3) for attorney instructions on how not to spread
a filing, such as the Notice, to member cases.
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       45. Plaintiffs' Co-Lead Counsel and Defendants' Co-Lead Counsel must confer and

          submit a joint status report five (5) business days before the status conference, as

          noted in Paragraph 38.

       46. In addition, Plaintiffs' Co-Lead Counsel and Defendants' Co-Lead Counsel must

          meet and confer and submit to the Court a proposed scheduling order at least three (3)

          business days prior to the status conference.

                                          Other Matters

       47. In any action that is (a) filed in or transferred to this Court after this Order is entered

          and (b) consolidated with this action for pretrial purposes, the Clerk need not

          separately file the Case Management Orders already entered in these MDL

          proceedings. However, the Clerk shall include a statement in the initial notice to

          counsel that Case Management Orders No. 1 and No. 2 govern all cases in the MDL

          proceedings and can be viewed on the Court's MDL website.

       AND IT IS SO ORDERED.




March :.\0 , 2019
Charleston, South Carolina




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